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           Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 1 of 14 PageID #:25

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Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 2 of 14 PageID #:26
Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 3 of 14 PageID #:27
Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 4 of 14 PageID #:28
Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 5 of 14 PageID #:29
Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 6 of 14 PageID #:30
Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 7 of 14 PageID #:31
Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 8 of 14 PageID #:32
Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 9 of 14 PageID #:33
Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 10 of 14 PageID #:34
Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 11 of 14 PageID #:35
Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 12 of 14 PageID #:36
Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 13 of 14 PageID #:37
Case: 1:10-cv-04308 Document #: 7 Filed: 08/09/10 Page 14 of 14 PageID #:38
